     Case 1:21-mc-00105-ABJ-RMM Document 1-1 Filed 08/06/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF SHERVIN
 PISHEVAR FOR AN ORDER TO TAKE                   Case No. 21-MC ______
 DISCOVERY FOR USE IN FOREIGN
 PROCEEDINGS PURSUANT TO 28
 U.S.C. § 1782

                            DECLARATION OF LUCAS BENTO

       Pursuant to 28 U.S.C. § 1746, I, Lucas Bento, declare as follows:

       1.      I am an attorney duly admitted to practice in New York. My motion for admission

Pro Hac Vice in this Court is forthcoming. I am Of Counsel in the law firm of Quinn Emanuel

Urquhart & Sullivan, LLP, counsel for Petitioner in this matter.

       2.      I submit this declaration in support of Mr. Shervin Pishevar (“Petitioner”)’s Ex

Parte Application and Petition For An Order to Conduct Discovery For Use In Foreign

Proceedings Pursuant To 28 U.S.C. § 1782 (the “1782 Application”). Capitalized terms not

otherwise defined herein shall have the meanings ascribed to them in the 1782 Application and

accompanying memorandum of law.

       3.      Attached as Exhibit 1 is a proposed order granting Petitioner’s 1782 Application.

       4.      Attached as Exhibit 2 are draft subpoenas duces tecum and ad testificandum

addressed to the Respondent.

       5.      Attached as Exhibit 3 is a true and accurate copy of Bean LLC’s registration page

on the DC Department of Commerce and Regulatory Affairs website.

       6.      Attached as Exhibit 4 is a true and accurate copy of a Bean LLC’s corporate

details on the Open Corporates webpage available at

https://opencorporates.com/companies/us_dc/EXTUID_2909265.




                                                1
        Case 1:21-mc-00105-ABJ-RMM Document 1-1 Filed 08/06/21 Page 2 of 3




          7.        Attached as Exhibit 5 is a true and accurate copy of an email communication sent

by Alison Anthoine to Lucas Bento on September 17, 2019, which I caused to be printed on

October 29, 2019.

          8.        Attached as Exhibit 6 is a true and accurate copy of an email communication sent

by Alison Anthoine to Lucas Bento on September 17, 2019, which I caused to be printed on

October 29, 2019.

          9.        Attached as Exhibit 7 is a true and accurate copy of an email communication by

Alison Anthoine to Lucas Bento on September 18, 2019, which I caused to be printed on October

29, 2019.

          10.       Attached as Exhibit 8 is a true and accurate copy of an email sent by Alison

Anthoine to Lucas Bento on September 23, 2019, which I caused to be printed on October 29,

2019.

          11.       Attached as Exhibit 9 is a true and accurate copy of an email communication sent

by Alison Anthoine to Lucas Bento on October 14, 2019, which I caused to be printed on October

29, 2019.

          12.       Attached as Exhibit 10 is a true and accurate copy of an email communication sent

by Alison Anthoine to Lucas Bento on August 29, 2019, which I caused to be printed on October

29, 2019.

          13.       Attached as Exhibit 11 is a true and accurate copy of a webpage entitled “About

Fulbright / J. William Fulbright Foreign Scholarship Board (FFSB) / Members / Shervin Pishevar”

located        at   URL     https://eca.state.gov/fulbright/about-fulbright/j-william-fulbright-foreign-

scholarshhip-board-ffsb/ffsb-members/shervin, which I caused to be printed on October 30, 2019.




                                                    2
     Case 1:21-mc-00105-ABJ-RMM Document 1-1 Filed 08/06/21 Page 3 of 3




       14.     Attached as Exhibit 12 is a true and accurate copy of an email received from

Respondent’s counsel in the CD Cal Action.

       15.     Attached as Exhibit 13 is a true and accurate copy of the Fusion GPS website,

available at https://fusiongps.com/.

       16.     No prior application for similar relief has been made by Petitioner.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed in New York, New York on August 6, 2021.




                                                 ________________

                                                 Lucas Bento




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